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 DOWD, J.

                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

 Peter David McBean                                )
                                                   )     CASE NO. 5:07CV1328
                 Petitioner,                       )              5:93CR0237
                                                   )
         v.                                        )
                                                   )     JUDGMENT ENTRY
 Harley G. Lappin, Director                        )
 Bureau of Prisons, et al.,                        )
                                                   )
                 Respondents.                      )

         For the reasons stated in the Memorandum Opinion filed contemporaneously with this

 Judgment Entry, IT IS HEREBY ORDERED, ADJUDGED and DECREED that Petitioner-

 Defendant Peter McBean’s petition pursuant to 28 U.S.C. 2241 (Docket No. 1) is denied.

         Furthermore, Petitioner’s Motion for Summary Judgment (Docket No. 5) is denied.

         The Court also certifies, pursuant to 28 U.S.C. 1915(a)(3), that an appeal from this

 decision could not be taken in good faith.

         The Court further finds no basis for a certificate of appealability and will not issue a

 certificate of appealability.



         IT IS SO ORDERED.



  August 13, 2007,                                s/ David D. Dowd, Jr.
 Date                                           David D. Dowd, Jr.
                                                U.S. District Judge
